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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
_______________________________________

NATIONAL RIFLE ASSOCIATION OF
AMERICA,

                                         Plaintiff,
             v.
                                                                      No. 1:18-CV-566
ANDREW CUOMO; MARIA T. VULLO;                                         (TJM/CFH)
THE NEW YORK STATE DEPARTMENT
OF FINANCIAL SERVICES,


                            Defendants.
_______________________________________


APPEARANCES:                                          OF COUNSEL:
Brewer Attorneys & Counselors                         SARAH ROGERS, ESQ.
750 Lexington Avenue, Floor 14                        MICHELLE JOANNA MARTIN, ESQ.
New York, New York, 10022
Attorneys for plaintiff

Office of the Attorney General                        WILLIAM A. SCOTT, ESQ.
State of New York                                     RYAN L. ABEL, ESQ.
The Capitol
Albany, New York 12224
Attorneys for defendant Andrew
Cuomo, Maria T. Vullo, the New
York State Dep’t of Fin. Serv.

Emily Celli Brinckerhoof & Abady LLO                  DEBRA L. GREENBERGER, ESQ.
600 Fifth Avenue, 10th Floor                          MERISSA BENAVIDES, ESQ.
New York, New York 10020
Attorneys for defendant Maria T. Vullo

New York State Dep’t of Fin. Serv.                    EAMON G. ROCK, ESQ.
One State Street
New York, New York 10004-1511
Attorney for nonparty New York
State Dep’t of Fin. Serv.

Weil, Gotshal & Manges, LLP                           JONATHAN POLKES, ESQ.
767 Fifth Avenue
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New York, New York 10153
Attorney for nonparty
Everytown For Gun Safety


CHRISTIAN F. HUMMEL
U.S. MAGISTRATE JUDGE
                                         ORDER
      On March 26, 2021, the Court conducted a conference with counsel for all

parties. Dkt. Entry dated Mar. 26, 2021. Attorney Jonathan Polkes appeared for the

nonparty Everytown for Gun Safety. The transcript of that proceeding is annexed. Dkt.

No. 327. As directed during that conference, it is hereby,

   ORDERED that:

   1) On review of the Court’s decision on the motions to dismiss filed by defendants

      (Dkt. Nos. 210 and 211), the stay of discovery previously issued by the Court

      (Dkt. No. 314) is lifted.

   2) As the Court has lifted the stay of discovery, plaintiff’s motion appealing the

      Court’s decision staying discovery (Dkt. No. 315) is withdrawn at plaintiff’s

      request.

   3) Plaintiff’s letter motions dated March 31, 2020 (Dkt. No. 189), and June 3, 2020

      (Dkt. No. 204), are dismissed without prejudice.

   4) Plaintiff’s motion seeking Hague discovery shall be filed by April 2, 2021. A

      response shall be filed by April 23, 2021.

   5) On review of the Court’s decision on the motions to dismiss (Dkt. No. 322),

      plaintiff’s motion for the Issuance of Letters Rogatory (Dkt. No. 246) is dismissed

      without prejudice.


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6) Plaintiff’s motion seeking the Issuance of Letter’s Rogatory shall be filed by April

   2, 2021. A response shall be filed by April 23, 2021.

7) On review of the Court’s decision on the motions to dismiss (Dkt. No. 322),

   plaintiff’s motion to compel the nonparty Everytown for Gun Safety to respond to

   a subpoena (Dkt. No. 251) is dismissed without prejudice.

8) Plaintiff’s motion to compel nonparty Everytown for Gun Safety to comply with a

   subpoena shall be filed by April 23, 2021. A response to that motion shall be

   filed by May 23, 2021. Plaintiff may file a reply by June 1, 2021.

IT IS SO ORDERED.

Dated: March 29, 2021
       Albany, New York




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